         Case 4:20-cv-00535-BSM Document 4 Filed 01/05/21 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

JAYLON HUBBARD                                                               PLAINTIFF

v.                           Case No. 4:20-cv-00535-BSM

CHRISTOFER REIDMUELLER,
Jail Administrator/Captain, Faulkner Detention Center                      DEFENDANT

                                        ORDER

       This case is dismissed without prejudice because Jaylon Hubbard has failed to comply

with the order [Doc. No. 3] directing him to pay the full filing fee or apply to proceed in

forma pauperis. See Local Rule 5.5(c)(2). It is certified that an in forma pauperis appeal

would not be taken in good faith. See 28 U.S.C. § 1915(a)(3).

       IT IS SO ORDERED this 5th day of January, 2021.


                                                   UNITED STATES DISTRICT JUDGE
